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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

    EILEEN AGURCIA, et al.,

                  Plaintiffs,

    vs.                                             Case No. 8:19-cv-00038-JSM-SPF

    REPÚBLICA DE HONDURAS, INSTITUTO
    DE LA PROPIEDAD, and EMPRESA
    NACIONAL DE ENERGÍA ELÉCTRICA,

                  Defendants.
                                                /

     DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
            MOTION TO CONDUCT JURISDICTIONAL DISCOVERY


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          Defendants República de Honduras (“Republic”), Instituto de la Propiedad (“IP”) and

   Empresa Nacional de Energía Eléctrica (“ENEE”) (collectively, “Defendants”) submit this

   memorandum of law in opposition to Plaintiffs’ Motion to Conduct Limited Jurisdictional

   Discovery (Doc. 31).

                                    I.      INTRODUCTION

          This suit is governed by the Foreign Sovereign Immunities Act, 28 U.S.C. §§ 1602, et

   seq. (“FSIA”). Defendants are a foreign state and its instrumentalities and therefore immune

   from this suit under the FSIA because none of the specified exceptions to sovereign immunity

   apply. Because Defendants have foreign sovereign immunity, the Court lacks subject matter

   jurisdiction and the Complaint must be dismissed.

          On February 10, 2020, Defendants filed a motion to dismiss the complaint on the basis

   of the FSIA and other grounds. (Doc. 19). Plaintiffs allege a single exception to sovereign

   immunity—the expropriation exception set forth in section 1605(a)(3). The motion to dismiss

   and supporting memorandum of law detailed why this exception to immunity does not apply,

   as a matter of law.     Plaintiffs previously requested, and Defendants consented to, two

   extensions of time to respond to the motion to dismiss. (Doc. 25, 29). Several days before the

   most recent deadline, Plaintiffs filed a motion to further extend their time to respond and this

   motion for jurisdictional discovery.

          While Plaintiffs characterize their motion as one for “limited jurisdictional discovery,”

   it is not. Instead, the motion seeks far ranging general discovery that includes testimonial

   discovery of three witnesses and documentary discovery spanning twelve broad categories.

   See Plaintiffs’ Memorandum (“Plts’ Mem.”) at 12-13 (Doc. 31). These categories encompass




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   the relationship between the Defendants, certain government policies and procedures, the

   commercial activities of IP and ENEE as well as their affiliates, subsidiaries, partners or joint

   venturers and various other “specific claims” that Plaintiffs argue will yield facts to establish

   the expropriation exception to immunity. Id.

             However, Plaintiffs’ requested discovery disregards the well-established legal principle

   that foreign sovereign immunity serves, in part, to protect foreign states and their

   instrumentalities from the burdens of litigation including discovery—“FSIA immunity is

   immunity not only from liability, but also from the costs, in time and expense, and other

   disruptions attendant to litigation.” See e.g., EM Ltd. v. Republic of Argentina, 473 F.3d 463,

   486 (2d Cir. 2007) (citing Kelly v. Syria Shell Petroleum Dev. B.V., 213 F.3d 841, 849 (5th Cir.

   2000)).

             Accordingly, the Plaintiffs’ motion for discovery should be denied because they have

   failed to identify what “crucial” facts they could establish by discovery that would defeat the

   Defendants’ motion to dismiss on FSIA grounds. This conclusion is all the more justified here

   because the allegations of the Complaint are patently insufficient to establish subject matter

   jurisdiction.

              II.     FACTUAL BACKGROUND RELEVANT TO THIS MOTION

             Plaintiffs allege they are mostly American “investors” in a real estate development

   project in Honduras – the Honduras Development Project or “HDP.” Complaint ¶¶ 2 and 159

   (Doc. 1). They define the HDP as the “overall project” in Honduras (id. ¶ 3) and allege that

   the HDP “purchased the land” and “made improvements.” Id. ¶ 128. The Complaint does not

   allege that Plaintiffs are owners of the properties in the HDP. Plaintiffs allege they “invested”




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   through “different vehicles” without identifying these vehicles. Id. ¶ 2. The developers are a

   now inactive Florida corporation, DSA, and a Honduran company, Vision Communities (id.

   ¶ 125) neither of which is a party to this action.

          The Complaint alleges that “[b]eginning in 2012, a group acting as an umbrella

   organization for various [Honduran] social and political movements, known as the

   Confederación Nacional de Federaciones de Patronatos de Honduras (CONAFEPH), caused

   thousands of squatters to occupy large tracts of privately-owned lands surrounding the [HDP].”

   Complaint ¶ 4. CONAFEPH is not a government entity. Plaintiffs do not have legal rights in

   the occupied lands. Those property owners are not parties here. Plaintiffs claim the squatters’

   occupation of adjacent lands caused “negative impacts” on the HDP, like the lowering of

   values. Id. ¶ 9.

          The Complaint alleges that IP is the government entity responsible for overseeing real

   property. Id. ¶ 117. ENEE is the national power company. Id. ¶ 118. Plaintiffs claim that the

   Defendants “supported the squatters by allowing them to develop the occupied lands and file

   frivolous petitions for expropriation which effectively barred the private land owners [not

   Plaintiffs] from enforcing ejectment actions entered by the Honduran courts.” Id. ¶ 11.

   Plaintiffs allege that ENEE provided the squatters electricity. Id. ¶ 7. Plaintiffs also take issue

   with Honduran policies towards squatters. Id. ¶ 180.

          Plaintiffs allege a single exception to immunity—the expropriation exception set forth

   in section 1605(a)(3). Complaint. ¶ 120 (Doc. 1). That exception provides:

          “(a) A foreign state shall not be immune from the jurisdiction of courts of the
          United States or of the States in any case – … (3) in which rights in property
          taken in violation of international law are in issue and that property or any
          property exchanged for such property is present in the United States in




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          connection with a commercial activity carried on in the United States by the
          foreign state; or that property or any property exchanged for such property is
          owned or operated by an agency or instrumentality of the foreign state and that
          agency or instrumentality is engaged in commercial activity in the United
          States.”

   28 U.S.C. § 1605(a)(3).

          There are four requirements for the expropriation exception to apply: “(1) that rights in

   property are at issue; (2) that property was taken; (3) that the taking was in violation of

   international law; and (4) that at least one of the two statutory nexus requirements are

   satisfied.” See Comparelli v. Rep. Bolivariana De Venezuela, 891 F.3d 1311, 1319 (11th Cir.

   2018) (citations omitted).

          As explained in Defendants’ motion to dismiss the Complaint, none of the essential

   four requirements for the expropriation exception to apply are met.

              •   Plaintiffs are investors in the HDP but do not claim to be owners of properties
                  in the HDP. As alleged in the Complaint, HDP “purchased the land” and “made
                  improvements.” (Doc. 1 ¶ 128). Plaintiffs also do not own the adjacent
                  occupied lands. Plaintiffs thus lack rights in the property at issue.

              •   The HDP has not been taken by anyone. Defendants have not “expropriated”
                  the HDP or the adjacent lands. To the extent that Plaintiffs claim their
                  investment in the HDP decreased in value because of the presence of squatters
                  on adjacent land, that decrease does not constitute an “expropriation” as the
                  term is used in the FSIA case law. Without an expropriation, there can be no
                  application of the FSIA’s “expropriation” exception.

              •   There has been no violation of international law because the Defendants have
                  not taken Plaintiffs’ property.

              •   The nexus requirement is not satisfied because the property in question (the
                  HDP) is neither (a) ‘present in the United States in connection with a
                  commercial activity carried on in the United States by the foreign state’; nor (b)
                  ‘owned or operated by an agency or instrumentality of the foreign state and that
                  agency or instrumentality is engaged in a commercial activity in the United
                  States.’ Comparelli, 891 F.3d at 1319 (citation omitted). While the Complaint




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                  never clearly identifies the owner, there is no allegation that IP or ENEE owns
                  or operates the HDP.

   (Doc. 19 at 5-14).

                                       III.    ARGUMENT

          a. The Court Lacks Subject Matter Jurisdiction Because No Exception to
             Immunity Applies

          The FSIA provides the “sole basis for obtaining jurisdiction over a foreign state,” and

   applies in “every action against a foreign sovereign, since subject matter jurisdiction in any

   action depends on the existence of . . . specified exceptions.” Argentine Rep. v. Amerada Hess

   Shipping Corp., 488 U.S. 428, 434-435 (1989). “[A] foreign state is presumptively immune

   from the jurisdiction of United States courts; unless a specified exception applies.” Saudi

   Arabia v. Nelson, 507 U.S. 349, 355 (1993). “To establish subject matter jurisdiction under

   the FSIA, a plaintiff must overcome the presumption that the foreign state is immune from suit

   in the United States’ courts.” S & Davis Intern., Inc. v. Rep. of Yemen, 218 F.3d 1292, 1300

   (11th Cir. 2000). The FSIA “shields foreign states and their agencies from suit in United States

   courts unless the suit falls within one of the Act’s specifically enumerated exceptions.” OBB

   Personenverkehr AG v. Sachs, __ U.S.__, 136 S. Ct. 390, 392 (2015). The exceptions to

   jurisdictional immunity are set forth in section 1605 of the FSIA.

          b. The Defendants are Foreign States Entitled to FSIA Immunity

          The Complaint acknowledges that each of the Defendants is a foreign state as the term

   is defined in the FSIA. (Doc. 1 ¶120). Thus, Defendants are presumptively immune. 28

   U.S.C. § 1604 (“a foreign state shall be immune from the jurisdiction of the courts of the United

   States and of the States except as provided in sections 1605 …”); Telchi v. Isr. Military Indus.,




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   739 F. App'x 514, 515 (11th Cir. 2017) ([i]t is well-established that ‘a foreign state is

   presumptively immune from the jurisdiction of United States courts.”) (quoting Saudi Arabia,

   507 U.S. at 355).

          c. In FSIA Cases, Jurisdictional Discovery Should Be Ordered Circumspectly
             and Limited to Facts Crucial to an Immunity Determination

          Under the FSIA, it is well-established that there is no general discovery until after the

   defense of foreign sovereign immunity has been finally adjudicated. See e.g., Rubin v. The

   Islamic Republic of Iran, 637 F.3d 783, 795 (7th Cir. 2011) (“it is widely recognized that the

   FSIA’s immunity provisions aim to protect foreign sovereigns from the burdens of litigation,

   including the costs and aggravations of discovery”) (emphasis added); Hansen v. PT Bank

   Negara Indonesia (Persero), TBK, 601 F.3d 1059, 1063 (10th Cir. 2010) (“The immunity

   provided under the FSIA protects foreign sovereigns from all the burdens of litigation,

   including the general burden of responding to discovery requests.”) (emphasis added);

   Packsys, S.A. de C.V. v. Exportadora de Sal, S.A. de C.V., 899 F.3d 1081, 1094 (9th Cir. 2018)

   (“Because of the “delicate balance between permitting discovery to substantiate exceptions to

   statutory foreign sovereign immunity and protecting a sovereign's or a sovereign agency's

   legitimate claim to immunity from discovery,” jurisdictional discovery in FSIA cases “should

   be ordered circumspectly and only to verify allegations of specific facts crucial to an immunity

   determination.”) (emphasis added).

          Federal courts in the Eleventh Circuit follow this same view. Under the FSIA, pending

   a motion to dismiss, the only discovery permitted is jurisdictional discovery if required to

   verify facts “crucial” to the foreign sovereign immunity determination, and such discovery

   must be requested from and ordered by the Court. See e.g., Trigeant Ltd. v. Petroleos de




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   Venezuela S.A., No. 08-80584-CIV, 2010 WL 11505968 at *3 (S.D. Fla. January 5, 2010) (“In

   regards to jurisdictional discovery under the FSIA the Court adhered to a well-established

   principle that it should be ordered circumspectly and only to verify allegations of specific facts

   crucial to an immunity determination.”) (emphasis added); Africa Growth Corp. v. Republic

   of Angola, No. 19-21995-CIV, 2019 WL 6273387 at *4 (S.D. Fla. November 25, 2019)

   (“Plaintiff’s motion [for jurisdictional discovery] is DENIED because any jurisdictional

   discovery that Plaintiff seeks could not cure the fact that the Court lacks jurisdiction under the

   FSIA.”) (emphasis added).

          These precedents set forth significant limitations on the availability of discovery prior

   to the adjudication of the FSIA motion to dismiss. To begin with, discovery is generally barred.

   It is the Plaintiffs’ burden to establish their right to the requested discovery. Plaintiffs must

   identify specific facts that are “crucial” to the immunity adjudication – meaning, facts that

   could overcome the Defendants’ foreign sovereign immunity and “cure” the Court’s lack of

   jurisdiction under the FSIA.

          Here, Plaintiffs’ motion fundamentally fails to satisfy these requirements, and should

   therefore be denied.

          d. Plaintiffs Have Failed to Identify “Crucial” Facts That Could Overcome the
             Defendants’ Immunity and Cure the Court’s Lack of Jurisdiction Under the
             FSIA

          Plaintiffs’ Memorandum incorrectly argues that the FSIA authorizes limited discovery

   when the complaint makes a prima facie showing that sovereign immunity does not apply.

   (Doc. 31 at 7). As an initial matter, in making this argument Plaintiffs confuse jurisdictional




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   immunity of section 1605 with execution immunity of section 1610. 1 They state that to

   overcome immunity, they “must demonstrate that their claims fall within one or more of the

   exceptions set forth in 28 U.S.C §1610(a)(2).” Id. (emphasis added). Section 1610 does not

   apply because execution immunity is not at issue here (at this point, no judgment has been

   entered and Plaintiffs are not seeking to execute a judgment against assets of the foreign state).

   The Court is being asked to rule only on jurisdictional immunity – that is, on its subject-matter

   jurisdiction. Plaintiffs cite Licea v. Curacao Drydock Co., Inc., 870 F. Supp. 2d 1360, 1366

   (S.D. Fla. 2012) for the proposition that a prima facie showing of an exception to immunity

   warrants jurisdictional discovery. But Licea is inapposite because it discusses the immunity

   of foreign state’s property from attachment or execution under Section 1610. 870 F. Supp.2d

   at 1365-66.

          Plaintiffs’ citations of Furry v. Miccosukee Tribe of Indians of Florida, No. 10-24525-

   CIV, 2011 WL 1303281 (S.D. Fla. Mar. 31, 2011), is also not helpful. They contend that Furry

   “illustrates the degree to which the movant must plead a prima facie case.” (Doc. 31 at 9-10).

   The decision by the Magistrate Judge granted a motion to conduct discovery because the

   plaintiff “alleged facts in his complaint, which if substantiated through discovery, could assist

   the Court in determining whether an exception to the FSIA applies.” Id. at *3. But this

   decision erroneously applied the FSIA to a claim involving an Indian tribe. As made clear by

   the subsequent decision by the District Court to dismiss the complaint for lack of subject matter




   1  The FSIA also provides foreign states with execution immunity, which prohibits the
   attachment and execution of property in the United States of a foreign state. 28 U.S.C §1609.
   The specified exceptions to execution immunity are set forth in Section 1610.




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   jurisdiction and reject the request to conduct discovery, the jurisdictional issue of tribal

   sovereign immunity is not governed by the FSIA. See Furry v. Miccosukee Tribe of Indians

   of Florida, No. 10-24525-CIV, 2011 US Dist LEXIS 75581 at *5-6, 16 (SD Fla July 13, 2011),

   aff’d 685 F. 3d 1224 (11th Cir. 2012); cert. den., 568 U.S. 1028 (2012). See also Allen v. Gold

   Country Casino, 464 F.3d 1044, 1048 (9th Cir. 2006) (“The [Foreign Sovereign Immunities]

   Act specifies exceptions to the immunity of a foreign state, see §1605(a), which the Tribe is

   not. . . . There is simply no room to apply the FSIA by analogy.”) But, in addition to analyzing

   the jurisdictional issue under the wrong law, the Furry decision relied upon by the Plaintiffs

   should also be disregarded because it offers no analysis of why limited discovery would be

   warranted.

           Furry is the sole case cited by Plaintiffs in which jurisdictional discovery was allowed.

   Perhaps more critical than Plaintiffs’ misplaced reliance on Licea and Furry, however, is their

   failure to identify specific facts that are “crucial” that could overcome the Defendants’ foreign

   sovereign immunity and “cure” the Court’s lack of jurisdiction under the FSIA. As noted by

   the Butler Court, “[b]ecause the complaint’s alter-ego allegation, if proven through additional

   discovery, would not demonstrate a basis for jurisdiction in any event, we have little difficulty

   concluding that the need to protect appellants’ claim to immunity from discovery greatly

   outweighed any competing need for further discovery.” Butler v. Sikhoi Co., 579 F.3d 1307,

   1314-1315 (11th Cir. 2009) (emphasis added). Here too, the FSIA policies protecting the

   Defendants from the burdens of discovery outweigh the Plaintiffs’ request for discovery based

   on their failure to identify the required crucial facts.




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          e. Plaintiffs Improperly Seek General Discovery Not Crucial To Immunity
             Determinations

          Notably, Plaintiffs even acknowledge the requirement that discovery is permitted only

   when necessary to “verify allegations of specific facts crucial to an immunity determination.”

   (Doc. 31 at 8) (citing Licea, 870 F. Supp. 2d at 1366 and quoting Arriba Ltd. v. Petroleos

   Mexicanos, 962 F.2d 528, 534(5th Cir. 1992)) (emphasis added).

          Rather than identifying those specific crucial facts, however, Plaintiffs claim to need

   discovery “to verify those factual allegations that are the linchpins to Defendants’ motion to

   dismiss.” (Doc. 31 at 12). But this general pronouncement about needing to verify “linchpin”

   factual allegations is too vague, general and broad to satisfy the requirement that discovery be

   limited to verifying facts “crucial” to the immunity determination. See Packsys, 899 F.3d at

   1094 (plaintiff’s request did not identify any “specific facts crucial to an immunity

   determination” that it wished to verify); Trigeant, 2010 WL 11505968 at *3 (“Trigeant had

   failed to allege specific facts, that if verified through jurisdictional discovery, would have

   established an exception to immunity.”); Sequeira v. Republic of Nicar., No. 16-25052-CIV,

   2019 U.S. Dist. LEXIS 32244, at *4 (S.D. Fla. Jan. 10, 2019) (“jurisdictional discovery from

   a foreign state is ‘ordered circumspectly and only to verify allegations of specific facts crucial

   to an immunity determination.’”) (quoting Butler, 579 F.3d at 1314). As instructed by Box v.

   Dallas Mexican Consulate General, 487 Fed. Appx. 880, 884 (5th Cir. 2012), a case cited by

   Plaintiffs, an example of a discrete issue appropriate for specific discovery is whether there

   was an actual authorization to purchase a consulate building, which would establish

   jurisdiction if true. Nothing even close to this sort of specific crucial fact showing has been

   made by Plaintiffs here.




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          Plaintiffs seek to depose Juan Jose Cruz and Jose Noe Cortez Moncada, both of whom

   submitted declarations in support of the Defendants’ motion to dismiss. The stated rationale

   for these depositions is to develop grounds for demonstrating the four elements needed to

   invoke the expropriation exception to sovereign immunity. (Doc. 31 at 2). Generally stating

   that you seek to develop grounds is not equal to stating what specific facts you expect to

   uncover and how those facts will change the jurisdictional determination in your favor.

   Instead, Plaintiffs cite to their own Complaint to show what they have alleged—but whether

   you can link the requested discovery to allegations in your complaint is not the test. Plaintiffs

   have failed to show what specific “facts” they can discover that “could cure” the presumed

   lack of jurisdiction under the FSIA. Id. at 10-12. In essence, Plaintiffs are not disputing

   jurisdictional facts but arguing the legal adequacy of the facts they have already alleged. These

   are legal, not factual, issues for which the present record is sufficient for the Court to rule.

          Plaintiffs further argue that Mr. Cruz provides no foundation for statements relevant to

   Defendants’ jurisdictional arguments. Id. at 3-4. Even if this were so, the lack of a proper

   foundation is a legal argument that Plaintiffs are capable of making without resort to

   jurisdictional discovery. Plaintiffs also fail to explain how discovery of the foundation for Mr.

   Cruz’s role in and direct knowledge of the operations of ENEE would be crucial to the

   expropriation exception to sovereign immunity. These foundation arguments do not fall within

   the narrow band of limited discovery crucial to jurisdiction.

          Plaintiffs also claim that statements in the Cruz declaration about ENEE’s corporate

   structure and its autonomy from the Republic are relevant to Defendants’ jurisdictional

   argument. (Doc. 31 at 4). But the Complaint acknowledges that ENEE is “an agency or




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   instrumentality of Honduras as that term is defined in 28 U.S.C. §1603. . . .” (Doc. 1 ¶118).

   The definition in section 1603(b) of the FSIA states in relevant part that an agency or

   instrumentality of a foreign state means any entity that “is a separate legal person, corporate or

   otherwise.” Therefore, there is no dispute that ENEE is a separate legal person, so Plaintiffs

   do not need discovery on this issue.

          Nor is there a valid argument for deposing Mr. Cruz to ask about “affiliates,

   subsidiaries, partners, or joint venturers, whom may be acting as the company’s alter ego and

   have dealings in the United States.” Id. at 4. This is a textbook “fishing expedition” hoping

   to stumble upon a fact to create jurisdiction where none current exists. See Boschetto v.

   Hansing, 539 F.3d 1011, 1020 (9th Cir. 2008) (“The denial of Boschetto’s request for

   discovery, which was based on little more than a hunch that it might yield jurisdictionally

   relevant facts, was not an abuse of discretion.”).

          Plaintiffs press the point that Mr. Cruz must explain why “[i]t would be unduly

   inconvenient to litigate this dispute in the federal court of the United States.” Id. at 5. While

   this may be relevant to a forum non conveniens analysis, it has nothing to do with subject-

   matter jurisdiction under the FSIA and does not provide a basis for discovery until after the

   immunity issue has been adjudicated.

          The stated reasons for the deposition of Mr. Cortez fare no better.             Plaintiffs’

   Memorandum argues that IP’s “actual organization” undermines its status as a separate

   juridical person. (Doc. 31 at 5-6). This argument goes nowhere. Plaintiffs allege that IP is a

   foreign state. (Doc. 1 ¶¶ 117, 120). Under the nexus requirement of the expropriation

   exception, in the case of a foreign state, the property at issue must be present in the United




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   States in connection with a commercial activity carried on in the United States by the foreign

   state. See Comparelli, 891 F.3d at 1319. Clearly, the HDP is not present in the United States.

   Plaintiffs do not allege that IP is an agency or instrumentality of a foreign state. Therefore, the

   nexus requirement addressed to an agency or instrumentality of the foreign state, including

   whether the agency or instrumentality engaged in commercial activity in the United States, is

   inapplicable and cannot be the basis for jurisdictional discovery.

          As with Mr. Cruz, Plaintiffs repeat the reference to “affiliates, subsidiaries, partners, or

   joint venturers, whom may be acting as the company’s alter ego and have dealings in the United

   States.” Id. at 6. But as noted, Plaintiffs allege only that IP is a foreign state, so there is an

   additional reason why fishing for jurisdictional evidence about related corporate entities is not

   proper and should be denied. Similarly, the purported need to depose Mr. Cortez about forum

   non conveniens issues is not relevant to the FSIA analysis presented by the motion to dismiss.

          Finally, the twelve bullet points of areas of discovery sought by Plaintiffs demonstrate

   and confirm the expansive general discovery they actually seek. (Doc. 31 at 12-13). These

   twelve areas encompass the relationship between the Republic, IP and ENEE, certain policies

   of the Republic, the policies and procedures of IP and ENEE, the commercial activities of IP

   and ENEE as well as their affiliates, subsidiaries, partners or joint venturers and various other

   unspecified “specific claims” that Plaintiffs contend will yield facts to establish the application

   of the expropriation exception. None of this is appropriate. Again, the Plaintiffs do not seem

   to appreciate that the legal precedents mandate that they must identify specific crucial facts

   that they expect to discover. General discovery of this sort is not necessary to “verify




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   allegations of specific facts crucial to an immunity determination” and therefore should be

   denied.

             The Defendants filed their motion to dismiss on February 10, 2020. Plaintiffs have had

   nearly three months to figure out what specific crucial facts they need to discover – and have

   failed to do so. Instead, two working days before their final extension to respond to the

   Complaint was to expire, they filed this motion with a general “wish list” of areas of discovery.

             Taking into consideration the Plaintiffs’ burden and their failure to meet that burden,

   as well as the Defendants’ rights to be protected from discovery prior to adjudication of the

   motion to dismiss, the balance weighs decisively in favor of denying their motion for

   discovery. 2

                                        IV.    CONCLUSION

             Accordingly, Defendants respectfully request that the Plaintiffs’ motion for

   jurisdictional discovery be denied in all respects and that the Plaintiffs be directed to respond

   to Defendants’ Motion to Dismiss the Complaint.




   2 If Plaintiffs seek leave and are granted the opportunity to file a reply, the Court should
   disregard any additional facts raised for the first time on reply, as Defendants would be
   deprived of the opportunity to respond.




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   Dated: April 30, 2020.              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on April 30, 2020, I electronically filed the foregoing

   document with the Clerk of the Court by using the CM/ECF system.



                                             s/ Robert K. Jamieson
                                             Attorney




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